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AO 91 (Rev. 11/11) Criminal Complaint F { | E PR

UNITED STATES DISTRICT COURT OCT 16 2024

for the CLERK Us

Western District of Texas py ESTERN CT Courr
CT OF TEXAS
Case No. Ep 1U (lt U9] (FC.

United States of America
Vv.

Vilma Haidee REGALADO-Ramos

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of October 14, 2024 in the county of El Paso in the
Western District of Texas , the defendant(s) violated:
Code Section Offense Description
§ U.S.C. 1326(a) an alien, who had previously been excluded, deported, and removed fram the

United States, attempted to enter, entered, and was found in the United States,
without having previously received consent to reapply for admission from the
Attorney General of the United States and the Secretary of Homeland Security, the
successor pursuant to Title 6, United States Code, Sections 202(3), 202(4) and 557.

This criminal complaint is based on these facts:

&X] Continued on the attached sheet. Z
Sworn IL

Oath Tel eon Ci ‘omplainant' s smgnature
At : .
(b 2)(A) Erika K. Robles
Fed acrimP4.\ MM 2) CBPO-Enforcement

Sworn to before me and signed in my presence. y
© LA

Judge 's signature
City and state: —_ El] Paso, Texas Robert F. Castaneda
U.S Magistrate Judge

Date: October 16, 2024

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FACTS

That on or about October 14, 2024, the DEFENDANT, Vilma Haidee REGALADO-Ramos, a citizen of El Salvador,
attempted to enter the United States by eluding inspection by Customs and Border Protection (CBP) Officers via southbound
pedestrian walkway at the Paso de} Norte Port of Entry (POE) in El Paso, Texas located in the Western District of Texas.

Customs and Border Protection Officer (CBPO) H. Lopez, D. Rodriguez and D. Blaney were in secondary at the Paso del
Norte POE when CBPO H. Lopez noticed the DEFENDANT and another female walking north on the southbound walkway.
CBPO Lopez attempted to scare them back to Mexico by flashing them with his flashlight, but the DEFENDANT and the
other female started running north into the United States. CBPO Lopez, Redriguez and Blaney started running towards the
gate that opens from vehicular lanes to the southbound walkway and saw the DEFENDANT and the other female running
away from the officers into the United States as CBPO Rodriguez was telling them to stop. CBPO Rodriguez and CBPO
Blaney reached the DEFENDANT and other female and apprehended and secure them. The DEFENDANT and other
female were escorted into Passport Control Secondary (PCS) for further processing.

In PCS, the DEFENDANT was served Form I-214 Warning as to Rights (Spanish Version) which she read, understood,
signed, and waived her right to legal counsel.

The DEFENDANT?’s database queries revealed she was previously removed from the United States on or about 05/30/2024,
02/23/2024, and 05/17/2023 to El Salvador.

During a sworn statement, the DEFENDANT admitted that her intent was to enter the United States and travel to Arkansas
to re unite with her boyfriend and seck employment. The DEFENDANT admitted not having legal documents that would
allow her to enter, work or reside in the United States. The DEFENDANT admitted she was aware that crossing without
being inspected was illegal.

Database records indicate the DEFENDANT has not applied for, nor received permission from the U.S. Attorney Gencral or
the Secretary of Homeland Security to reapply for admission into the United States. Further queries revealed the
DEFENDANT is not in possession of any legal documents in which to enter, reside or seek employment in the United States.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause as set forth herein, I have
not included each and every fact known to me concerning this investigation.

Immigration Record
On or about 05/30/2024 Removed from Alexandria, LA to El Salvador.

On or about 02/23/2024 Removed from Alexandria, LA to El Salvador.
On or about 05/17/2023 Removed from Harlingen, TX to El Salvador.

Criminal Record
None can be established at this time.
